""'JS 44
                                             PD
                                      Case 2:10-cv-05065-PD Document 1 Filed 09/28/10 Page 1 of 13
                                                                             CIVIL COVER SHEET
The JS 44 civil cover sheet and the infonnation contained herein neither replace nor supplement the filing and service ofpleadings or other papers as required by law, except as provided
by local rules of court. This fonn, approved by the Judicial Conference ofthe United States in September 1974, is required for the use of the Clerk of Court for the purpose of mitiating
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I. (a)         PLAINTIFFS                                                                                         DEFENDANTS

             Deborah Marcakis                                                                                      Interstate Check Systems, Inc. (ICS) a/k/a Northtown Capital
                                                                                                                   Associates, LLC !
     (b)        County of Residence of First Listed Plaintiff                                                     County of Residence          OfFi~t Listed Defei\da"M·<·,..#~Nl(~                             <




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                                                                                                                     Attorneys (If Known)

 Warren & Vullings, LLP, 1603 Rhaw   reet
 Philadel hia, PA 19111 215-745-9800
II.          BASIS OF JURISD                  ON       (Place an "X" in One Box Only)               III. CITIZENSHIP OF PRINCIPAL P ARTlES(Place an "X" in One Box for Plaintiff

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                Plaintiff


             U.S Government
                Defendant
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o 1I0 Insurance                        PERSONAL INJURY                       PERSONAL INJURY              o 610 Agriculture                        o 422 Appeal 28 USC 158               0     400 State Reapportionment
o 120 Marine                         0 310 Airplane                      0    362 Personal Injury ­       o 620 Other Food & Drug                  o 423 Withdrawal                      0     410 Antitrust
o 130 Miller Act                     0 315 Airplane Product                       Med. Malpractice        o 625 Drug Related Seizure                         28 USC 157                  0     430 Banks and Banking
o 140 Negotiable Instrument                 Liability                    0 365 Personal Injury -                of Property 21 USC 881                                                   0     450 Commerce
o 150 Recovery of Overpayment        0 320 Assault, Libel &                       Product Liability       o 630 Liquor Laws                            PROPERT                           0     460 Deportation
         & EnforcementofIudgment            Slander                      0 368 Asbestos Personal          o 640 R.R. & Truck                       a   820 Copyrights                    0     470 Racketeer Influenced and
o     151 Medicare Act               0 330 Federal Employers'                     Injury Product          o 650 Airline Regs.                      o   830 Patent                                  Corrupt Organizations
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          Student Loans              0 340 Marine                          PERSONAL PROPERTY                     Safety/Health                                                    0            490 Cable/Sat TV
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o     190 Other Contract                    Product Liability            0 385 Property Damage            o 720 Labor/Mgmt. Relations              o     863 DIWCIDIWW (405(g))                    12 USC 3410
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o     196 Franchise                         Injury                                                               & Disclosure Act                  o     865 RSI (405(g))       ,        o      91 Agricultural Acts
    "." {'RFJAHiPROPERTY'~fKff$ i'!J£%ItCIVlL .RIGHtrS'1'rL. -[N!!       fPreffifi)NER~ETfl10NS~          o 740 Railway Labor Act                  '. iiFED,ERAlVwAXSU!\fS!'                   892 Economic Stabilization Act
o     210 Land Condemnation          0 441 Voting                        0   510 Motions to Vacate        o 790 Other Labor Litigation             o   870 Taxes (U.S. Plaintiff         [lJ   893 Environmental Matters
o     220 Foreclosure                0 442 Employment                            Sentence                 o 791 Emp!. Ret. Inc.                            or Defendant)                 0     894 Energy Allocation Act
o     230 Rent Lease & Ejectment     0 443 Housing!                          Habeas Corpus:                       Security Act                     o   871 IRS-Third Party               0     895 Freedom ofinformation
o     240 Torts to Land                    Accommodations                0   530 General                                                                   26 USC 7609                             Act
o     245 Tort Product Liability     0 444 Welfare                       0   535 Death Penalty            ~"··;·.<i%&IMl\fiGRA'fI0N1);:£N.<l"'·                                          0     900Appeal of Fee Determination
o     290 All Other Real Property    0 445 Amer. wlDisabilities ­        0   540 Mandamus & Other         o 462 Naturalization Application                                                         Under Equal Access
                                           Employment                    0   550 Civil Rights             o 463 Habeas Corpus ­                                                                    to Justice
                                     0 446 Amer. wlDisabilities ­        0   555 Prison Condition              Alien Detainee                                                            0     950 Constitutionality of
                                           Other                                                          o 465 Other Immigration                                                                  State Statutes
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             CAUSE OF ACTION
                                             Brief description of cause:
                                               VIOlation ot I-UCI-'A                                                                                                                             ......                            a
 VII. REQUESTED IN                            0 CHECK IF THIS IS A CLASS ACTION                              DEMAND $                                              CHECK YES only iffman ~ed in complaint:
              COMPLAINT:                          UNDER F.R.C.P. 23                                                                                                JURY DEMAND:                   ~ yes      0 No

 VIII. RELATED CASE(S)
                                                 (See instructions):
                                                                         JUDGE                                                                         DOCKET NUMBER
                                                                                                                                                                                         I)
               Explanation:



 DATE                                                                          SIGNATURE OF ATTORNEY OF RECORD


  09/16/2010                                                                   lsI Brent F. Vullings, Esq.                                     bv@w-vlaw.com
                                                                                                                                                                                               SEP 282010
                                      Case 2:10-cv-05065-PD Document 1 Filed 09/28/10 Page 2 of 13
                                                                 UN                  TES DISTRICT COURT                                                          APPENDIX F


                                                                                                                                                        0 _ 50 6 6
 FOR THE EASTERN DISTRICT OF PENNSYLVANIA                                           FORM     to be used by counsel to indicate the category of the case for the purpose of
"""'an men'          '0 ..pproprlate ca'andar                                                                                                      1
Address of Plaintiff             Deborah Marcakis, Top of the Hill, 301 Heights Lane, Apt. 2E, Feasterville, PA                                19~3
Address of Defendant              Interstate Check Systems, Inc. (lCS) a/kIa Northtown Capital Associates, LLC, 15 Hazelw()od Drive, Suite 102, Amherst, NY 14228
                                                                                                                                   ~
 Place of Aceident Incident or Transaction            Bucks Co., PA                                                                'Ji'.
                                                      ~~~~~~--~~~~~~------------~----------------------
                                                           (Use Reverse Side for additional space
Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?

                                                                                                                                                       ~
(Attach two copies of the Disclosure Statement Form in accordance with Fed. R.Civ.P.7.1(a»__
                                                                                                                                      Yes
                                                                                                                                              0
                                                                                                                                                       -C)
 Does this case involve multidistrict litigation possibilities?
 RElATED CASE, IF ANY:

 Case Number _ _ _ _ _ _ _ _ _ _ Judge                      ~ ...._ _ _ _ _ _ _ _ _ _ _            Date Terminated
                                                                                                                                     Yes      o        Nt?
     (Civil cases are deemed related when yes is answered to any of the following questions

 I. Is this case related d to property included in an earlier numbered suit pending or within one year previously tenninated action in this court?
                                                                                                                                   Yes       0         No rg)
 ?       Does this case involve the same issue offact or grow out of the same transaction as a prior suit pending or within one year previously terminated

         action in this court?                                                                                                         Yes    0        No rg)
 3. Does this case involve the validity or infringement of a patent already in suit or in any earlier numbered case pending or within one year previously
      terminated action in this court?                                                                                                 Yes    0        No rg)

 CIVIL (Place X in ONE CATEGORY ONLY)
 A. Federal Question Cases:                                                                                    B. Diversity Jurisdiction Cases:.
          o       Indemnity Contract, Marine Contract, and All Other Contracts                                      0   Insurance Contract and Other Contracts

  2       0       FELA                                                                                         2    0   Airplane Personal Injury

  3       0       Jones Act-Personal Injury                                                                    3    0   Assault, Defamation

          o       Antitrust                                                                                    4    0   Marine Personal Injury

           o Patent                                                                                            5    0   Motor Vehicle Personal Injury

  6.       0      Labor·Management Relations                                                                   6,   El Other Personal Injury (Please Specify)

  7.       0      Civil Rights                                                                                 7.   0   Products Liability




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     I     f2Sl
                  Habeas Corpus

                  Securities Act(s) Cases

                   Social Security Review Cases
                    II other Federal Question Cases
                  ( lease specify) Fair Debt Collection Practices Act
                                                                                                               8,

                                                                                                               9.
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                                                                                                                        Products Liability - Asbestos

                                                                                                                        All other Diversity Cases

                                                                                                                        (Please SpecifY)




                                                                     ARBITRATION CERTIFICATION

         I, Brent F. Vullings, Esq.                                   Counsel of record do hereby certify:

              o     Pursuant to Local Civil Rule 53.2, Section 3(c}(2), that to the best of my, knowledge and belief, the damages recoverable in this civil action case
  exceed the sum of $150,000.00 exclusive of interest and costs:
               o     Relief other than monetary damages is sought

  DATE-:           09116/2010                          lsI Brent F. Vullings BFV8435                                                              92344
                                                                 Attorney-at-Law                                                                  Attomcv ID.#

                                     NOTE: A trial de novo will be a trial by jury only ifthere has been compliance with F.R.C.P. 38.

  1 certify that to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this Court
  except as noted above.

     DATE-,:       09116/2010                                   Is! Brent F. Vullings BFV8435                                              92344                 ,SEP 282010
                                                                  Attorney-at-Law                                                          Attorney 1D #
     CIV.609 (4/03)
                  Case 2:10-cv-05065-PD Document 1 Filed 09/28/10 Page 3 of 13


                                               D
                             IN THE UNITED STATES DISTRICT COURT
                                                                                            APPENDIX I

                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                         CASE MANAGEMENT TRACK DESIGNATION FORM

                                                                                CIVIL ACTION
Deborah Marcakis
                            v.                                               to           506&
Interstate Check Systems, Inc. (ICS) a/kIa Northtown
Capital Associates, LLC                                                         NO.

    In accordance with the Civil Justice Expense and. Delay Reduction Plan of this court, counsel for
    plaintiff shall complete a case Management Track Designation Form in all civil cases at the time of
    filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
    side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
    designation, that defendant shall, with its first appearance, submit to the clerk of court and serve Ont
    tie plaintiff and all other parties, a case management track designation form specifying the track to
    which that defendant believes the case should be assigned.

     SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

     (a) Habeas Corpus - Cases brought under 28 U.S.C. §2241 through §2255.                              ()
     (b) Social Security- Cases requesting review of a decision of the Secretary of Health
         and Human Services denymg plamtiff Social Security Benefits                                     ( )

     (c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.      ()
     (d) Asbestos - Cases involving claims for personal injury or property damage from
        exposure to asbestos.                                                                            ()
     (e) Special Management - Cases that do not fall into tracks (a) through (d) that are
        commonly referred to as complex and that need special or intense management by
        the court. (See reverse side of this form for a detailed explanation of special
        management cases.)                                                                               ( )

     (f) Standard Management - Cases that do not fall into anyone of the other tracks.



     09116110                                                               Pla in tiJT
     Date                                                                    Attorney for

      215-745-9800                      215-745-7880                 bv@w-vlaw.com
     Telephone                             FAX Number                        E-Mail Address



      (Civ. 660) 10/02
                                                                                                 SEP 282010
                                PO
       Case 2:10-cv-05065-PD Document 1 Filed 09/28/10 Page 4 of 13



                             UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF PENNSYLVANIA


                                             )
DEBORAH MARCAKIS                             )    Case Number

               Plaintiff
                                             )
                                             )
                                                                   10           5065
                                             )    CIVIL COMPLAINT
       vs.                                   )
                                             )
INTERSTATE CHECK SYSTEMS,                    )    JURY TRIAL DEMANDED
INC. (ICS) a/k/a NORTHTOWN                   )
CAPITAL ASSOCIATES, LLC
              Defendant
                                             )
                                                                                FILED
                                                                                 \'­
                                                                                 v:? 2 ~) 2010
                                                                          MICHAELE
                                                                          By­     . KUNZ, C/srk
                            COMPLAINT AND JURY DEMAND                       ______Oep. Clerk


       COMES NOW, Plaintiff, Deborah Marcakis, by and through her undersigned

counsel, Bruce K. Warren, Esquire and Brent F. Vullings, Esquire complaining of

Defendant and respectfully avers as follows:



                       I.      INTRODUCTORY STATElVIENT


       1.      f'laintiff, Deborah Marcakis (hereinafter "Plaintiff'), is an adult natural

person and brings this action for actual and statutory damages and other relief against

Defendant for violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et

seq. ("FDCP A"), which prohibits debt collectors from engaging in abusive, deceptive and

unfair practices, the Pennsylvania Fair Credit Extension Uniformity Act, 73 P.S. § 2270.4

("PFCEUA) and the Unfair Trade Practices and Consumer Protection Law, 73 P.S. § 201­

1-201-9.3 ("UTPCPL") which prohibits debt collectors and original creditors from

engaging in abusive, deceptive and unfair practices.
         Case 2:10-cv-05065-PD Document 1 Filed 09/28/10 Page 5 of 13



                                  II.          JURISDICTION


         2.    Jurisdiction of this court arises under 15. U.S.C. § 1692k(d) and 28 U.S.c.

§1337.

         3.    Venue in this District is proper in that the Plaintiff resides in this District.



                                        III.     PARTIES


         4.    Plaintiff, Deborah Marcakis, is an adult natural person residing at Top of

the Hill, 301 Heights Lane, Apt. 2E, Feasterville, PA 19053. At all times material and

relevant hereto, Plaintiff is a "consumer" as defined by the FDCPA, 15 U.S.C. § 1692a (2).

         5.    Defendant, Interstate Check Systems, Inc. (lCS) alk/a Northtown Capital

Associates, LLC at all times relevant hereto, is and was a corporation and also acting as a

limited liability company engaged in the business of collecting debt within the

Commonwealth of Pennsylvania, with a principal place of business located at 15

Hazelwood Drive, Suite 102, Amherst, NY 14228 and a registered office located at 1

Maiden Lane, 15 th Floor, New York, NY 10038.

         6.    Defendant is engaged in the collection of debts from consumers using the

telephone and maiL Defendant is a "debt collector" as defined by the FDCPA, 15 U.S.C.

§1692a(6).

                           IV.      FACTUAL ALLEGATIONS

         7.    On or about September 9,2010, Plaintiff was informed by her parents that

they had received call from Defendant's agent, "Juliana Hays", collecting on a debt

allegedly owed on a past payday loan.
        Case 2:10-cv-05065-PD Document 1 Filed 09/28/10 Page 6 of 13



       8.        "Agent, "Juliana Hays", told the Plaintiffs parents that their daughter was

a "person of interest".

       9.       Plaintiffs parents were told that their daughter was being investigated for

the criminal act of writing bad checks.

        10.     Defendant's agent, "Juliana Hays", stated that they would be sending the

sheriff to come and pick up the Plaintiff if she did not call Defendant back by 12:30 the

next day.

        11.     On or about that same day, Plaintiff s aunt also received a call from

Defendant to her home looking for the whereabouts of the Plaintiff.

        12.     Plaintiff s aunt was also told that the Plaintiff was a "person of interest" for

writing bad checks.

        13.     On that same day, September 9, 2010, Plaintiff called the Defendant back

and spoke with an agent by the name of "Mrs. Hill".

        14.     Defendant's agent, "Mrs. Hill", explained to the Plaintiff that she would

like to help her but that it was essentially too late.

        15.     Plaintiff was told that the Defendant had been trying to reach her for so long

and that this was her last chance.

        16.     Plaintiff insists that until this time she had never received a call and has

never received a notice from the Defendant.

        17.     During that same call, Defendant's agent, "Mrs. Hill", informed the

Plaintiff that her failure to pay had caused a "red flag" to be put on her driver's license and

her social security card number.
       Case 2:10-cv-05065-PD Document 1 Filed 09/28/10 Page 7 of 13



       18.     Plaintiff was told that if she didn't take care of this now she would surely

end up in a Bucks County court.

       19.     Defendant's agent, "Mrs. Hill" also stated again that the Plaintiff had

written bad checks and that she was involved in criminal behavior.

       20.     Plaintiff ended the calL

       21.     On or about September 10,2010, Defendant's agent, "Mrs. Hill" called and

left a message for the Plaintiff stating that the Plaintiff had until 5:30 pm that evening to let

them know what she intended to do or that this account was going to litigation.

       22.     Plaintiff was told to reference her court number 221-436-T.

       23.     However, at 12:30 pm, that same day, Defendant's agent, "Mrs. Hill, called

back asking the Plaintiff if she had made up her mind yet about payment.

        24.    Plaintiff continued to receive calls to her home and her personal cell phone

from the Defendant.

        25.     On or about September 12, 2010, Plaintiffs parent's received another

voicemail from an agent of the Defendant asking them to have their daughter call him back

by 5:00 pm the next day otherwise someone will be at her home or work to serve her.

        26.     Defendant's agent ended his call with "consider herself served".

        27.     On that same day, September 12,2010, Defendant's agent, "Juliana Hays",

called Plaintiff again and stated that if she did not call back 5:00 pm on Friday, September

17, 2010, that they would be closing her file and sending it to Bucks County Courthouse.

        28.     On or about September 13, 2010, Defendant's agent "Frank Rizzo", called

the Plaintiff claiming he was from a "law group" and referencing the same court number
       Case 2:10-cv-05065-PD Document 1 Filed 09/28/10 Page 8 of 13



221-436-T he claimed that he was calling because the Plaintiff had agreed to settle the debt

on the 9th of September.

       29.     Plaintiff told the agent that she did not have the money at this time and that

she had never agreed to a settlement.

       30.     Plaintiff is said to owe in excess of $1,975.00 on a debt that was originally

$500.00.

       31.     Before ending the call, Defendant's agent, "Frank Rizzo", stated that it was

fine if the Plaintiff did not want to settle because he will just forward it on to the county.

       34.     The Defendant acted in a false, deceptive, misleading and unfair manner by

threatening to take action that it did not intend to take for the purpose of coercing Plaintiff

to pay the debt.

        35.    The Defendant knew or should have known that their actions violated the

FDCPA. Additionally, Defendant could have taken the steps necessary to bring their and

their agent's actions within compliance of the FDCPA, but neglected to do so and failed to

adequately review those actions to insure compliance with the law.

        36.     At all times pertinent hereto, Defendant was acting by and through it agents,

servants and/or employees, who were acting with the scope and course of their

employment and under the direct supervision and control of Defendant herein.

        37.     At all times pertinent hereto, the conduct of Defendant as well as its agents,

servants andlor employees, was malicious, intentional, willful, reckless, negligent and in

wanton disregard for federal and state law and the rights of the Plaintiff herein.

                                     COUNT I-FDCPA


        38.     The above paragraphs are hereby incorporated herein by reference.
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       39.     At all times relevant hereto, Defendant was attempting to collect an alleged

debt which was incurred by the Plaintiff for personal, family or household purposes and is

a "debt" as defined by 15 U.S.C. § 1692a(5).

       40.     The foregoing acts and omissions constitute violations of the FDCPA,

including but not limited to, violations of 15 U.S.C. § 1692:

               § 1692b(2):    Contact of Third Party: Stated that the consumer owed any

                              debt

               § 1692b(3):    Contact of Third Party: Contacted a person more than once,

                              unless requested to do so

               § 1692c(b):    With anyone except consumer, consumer's attorney, or

                              credit bureau concerning the debt

               § 1692d:       Any conduct that natural consequence of which is to harass,

                              oppress or abuse any person

               § 1692d(5):    Caused the phone to ring or engaged any person in telephone

                              conversations repeatedly

               § 1692e:       Any other false, deceptive or misleading representation or

                              means in connection with the debt collection

               § 1692e(2):    Character, amount, or legal status of the alleged debt

               § 1692e(4):    Nonpayment of any debt will result in the arrest or

                              imprisonment of any person or the seizure, garnishment,

                              attachment
       Case 2:10-cv-05065-PD Document 1 Filed 09/28/10 Page 10 of 13



                   § 1692e(5):    Threaten to take any action that cannot legally be taken or

                                  that is not intended to be taken

                   § 1692e(10): Any false representation or deceptive means to collect a debt

                                  or obtain information about a consumer

                   § 1692f:       Any unfair or unconscionable means to collect or attempt to

                                  collect the alleged debt

        WHEREFORE, Plaintiff respectfully requests that this court enter judgment in her

favor and against Interstate Check Systems, Inc. (ICS) a/kJa Northtown Capital Associates,

LLC for the following:

        a.         Actual damages;

        d.         Statutory damages pursuant to 15 U.S.C. §1692k;

        c.         Reasonable attorney's fees and costs of suit pursuant to 15 U.S.C. §1692k;

and

        d.         Such addition and further relief as may be appropriate or that the interests of

justice require.




                                            COUNT II
             VIOLATIONS OF PENNSYLVANIA FAIR CREDIT EXTENSION
                                       UNIFORMITY ACT
                              (FCEUA, 73 Pa. C.S. § 2270.1 et seq.)

        41.        Plaintiffs repeat, re-allege and incorporate by reference the foregoing

paragraphs.
      Case 2:10-cv-05065-PD Document 1 Filed 09/28/10 Page 11 of 13



       42.     The collection of a debt in Pennsylvania is proscribed by the Fair Credit

Extension Uniformity Act at 73 Pa. C.S. § 2270.1 et seq., ("FCEUA") and the

Pennsylvania Unfair Trade Practices and Consumer Protection Law 73 Pa. C.S 201-1 et

seq. ("UTPCPL"). Defendant is a debt collector pursuant to 73 Pa. C.S. § 2270.3.

       43.      The alleged debt Defendant was attempting to collect is a debt as defined by

73 Pa. C.S. § 2270.3.

       44.      The FCEUA proscribes, inter ali!;!, engaging in any false, misleading or

deceptive representations when attempting to collect a consumer debt.

        45.     The actions of Defendant, as aforesaid, constitute false, misleading or

deceptive representations.

        46.     Violations of the FDCPA is a per se violation of the FCEUA and the

UTPCPL.

        47.     As a direct and proximate result of the said actions, Plaintiff has suffered

financial harm.

        48.       By virtue of the violations of the law as aforesaid, and pursuant to the

FCEUA and UTPCPL, Plaintiff is entitled to an award of , treble damages, attorney's fee

and costs of suit.

        WHEREFORE, Plaintiff prays this Honorable Court enter judgment in their favor

and against Defendant, and Order the following relief:

        a.      Treble damages;

       b.         An award of reasonable attorneys fees and expenses and costs of court; and
       Case 2:10-cv-05065-PD Document 1 Filed 09/28/10 Page 12 of 13



        c.         Such additional relief as is deemed just and proper, or that the interests of

justice require.

                                           COUNT III
      VIOLATIONS OF PENNSYLVANIA CONSUMER PROTECTION LAW
                            ("UTPCPL"),73 Pa. C.S. § 201-1 et seq.

        49.        The foregoing paragraphs are incorporated herein by reference.

        50.        Plaintiffs and Defendant are "Persons" to 73 Pa. C.S § 201-2.

        51.        The UTPCPL proscribes, inter alia, engaging in any ''unfair or deceptive

acts or practices", either at, and prior to or subsequent to a consumer transaction.

        52.        The action of Defendant, as aforesaid, constitutes unfair acts or practices

under the UTPCPL, by way of the following, inter alia:

        a.         Defendant misrepresented to Plaintiff, the character, extent or amount of the

debt or its status in a legal proceeding, 73 Pa. C.S. § 201-3.1;

        b.         Defendant engaged in deceptive or fraudulent conduct which created a

likelihood of confusion or ofmisunderstanding, 73 Pa. C.S. § 201-2(xxi);

        c.         Defendant failed to comply with the FDCPA and FCEUA which are per se

violations of the UTPCPL.

        53.        As a direct and proximate result of the said actions, Plaintiff has suffered

financial damages and other harm.

        54.        By virtue of the violations of law aforesaid and pursuant to the UTPCPL,

Plaintiff is entitled to an award of, treble damages, attorney's fees and costs of suit.
      Case 2:10-cv-05065-PD Document 1 Filed 09/28/10 Page 13 of 13



       WHEREFORE Plaintiff prays this Honorable Court enter judgment in their favor

and against Defendant, and Order the following relief:

       a.      An Order declaring that Defendant violated the UTPCPL;

       b.      Treble damages;

       c.      An award of reasonable attorney's fees and expenses and cost of suit; and


       d.      Such additional relief as is deemed just and proper, or that the interest of

justice may require.




                                 v.      JURY DEMAND


       Plaintiff hereby demands a jury trial as to all issues herein.




                                              Respectfully submitted,

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